               Case: 1:22-cv-01162 Document #: 17 Filed: 03/25/22 Page 1 of 2 PageID #:186

                          United States District Court Northern District of Illinois
                          MOTION FOR LEAVE TO APPEAR PRO HAC VICE
Case Title:                                                                                                          Plantiff(s)
                       M1 Holdings Inc.
                                                                            VS.

                                                                                                                     Defendant(s)
                       Members 1st Federal Credit Union

Case Number:           1:22-cv-01162                              Judge: Franklin U. Valderrama


I,    Patricia M. Flanagan                                                                                  hereby apply to the Court

under Local Rule 83.14 for permission to appear and participate in the above-entitled action on behalf of

Defendant/Counter-Claimant, Members 1st Federal Credit Union by whom I have been retained.

I am a member in good standing and eligible to practice before the following courts:
                                                Title of Court                                                          Date Admitted
            U.S. District Court for the Southern District of Florida                                                   12/10/2009
                U.S. District Court for the Middle District of Florida                                                 12/03/2008
               U.S. District Court for the Northern District of Florida                                                11/06/2015
                       U.S. Court of Appeals for Eleventh Circuit                                                      05/27/2016

I have currently, or within the year preceding the date of this application, made pro hac vice applications to this
Court in the following actions:
                                                                                                            Date of Application
     Case Number                                            Case Title                                      (Granted or Denied)*




*If denied, please explain:
(Attach additional form if
necessary)
Pursuant to Local Rule 83.15(a), applicants who do not have an office within the Northern District of Illinois must designate, at the
time of filing their initial notice or pleading, a member of the bar of this Court having an office within this District upon who service of
papers may be made.

                                   Has the applicant designated local counsel?        Yes    X              No

If you have not designated local counsel, Local Rule 83.15(b) provides that the designation must be made within thirty (30) days.
               Case:
Has the applicant       1:22-cv-01162
                  ever been:                 Document #: 17 Filed: 03/25/22 Page 2 of 2 PageID #:187
sanctioned, censured, suspended, disbarred, or otherwise disciplined by                                                   X
any court?                                                                            Yes                            No


or is the applicant currently the subject of an investigation of the                  Yes                            No   X
applicant’s professional conduct?

transferred to inactive status, voluntarily withdrawn, or resigned from the           Yes                            No   X
bar of any court?

                                                                                      Yes                            No   X
denied admission to the bar of any court?

                                                                                      Yes                            No   X
held in contempt of court?
NOTE: If the answer to any of the above questions is yes, please attach a brief description of the incident(s) and the applicant’s current
status before any court, or any agency thereof, where disciplinary sanctions were imposed, or where an investigation or investigations
of the applicant’s conduct may have been instituted.

I have read the Rules of Professional Conduct for the Northern District of Illinois and the Standards for Professional Conduct within
the Seventh Federal Judicial Circuit, and will faithfully adhere to them. I declare under penalty of perjury that the foregoing is true and
correct.


3/25/2022                                                S/   Patricia M. Flanagan
                 Date                                               Electronic Signature of Applicant

                            Last Name                                 First Name                                          Middle Name/Initial
Applicant’s Name
                           Flanagan                                  Patricia                                             Mary
Applicant’s Law Firm
                           Fox Rothschild LLP
                            Street Address                                                                                Room/Suite Number
Applicant’s Address
                           777 S. Flagler Drive                                                                           1700W
                                                                                       Work Phone Number
                            City                        State         ZIP Code         (561) 804-4477

                           West Palm Beach             FL            33401             Email Address
                                                                                       pflanagan@foxrothschild.com


(The pro hac vice admission fee is $150.00 and shall be paid to the Clerk. No admission under Rule 83.14 is effective until such
time as the fee has been paid.)


NOTE: Attorneys seeking to appear pro hac vice may wish to consider filing a petition for admission to the general bar of this Court. The
      fee for admission to the General Bar is $181.00 The fee for pro hac vice admission is $150.00. Admission to the general bar
      permits an attorney to practice before this Court. Pro hac vice admission entitles an attorney to appear in a particular case
      only. Application for such admission must be made in each case; and the admission fee must be paid in each case.




         Rev. 11/13/2019
